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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

RANDALL WHALLEN,
               Plaintiff,

       v.
                                                 Civil Action No.: 3:18-cv-01162-D
eHEALTH, INC.,
               Defendant.



                                STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED, by and between the parties, that the claims

of Plaintiff Randall Whallen shall be dismissed pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure without prejudice.

Dated: November 8, 2018                      HUGHES ELLZEY LLP

                                             /s/ Jarrett L. Ellzey
                                             Jarret L. Ellzey
                                             2700 Post Oak Blvd, Suite 1120
                                             Houston, TX 77056
                                             Telephone: (888) 350-3931
                                             Facsimile: (888) 995-3335

                                             Counsel for Plaintiff Randall Whallen

Dated: November 8, 2018                      WILSON SONSINI GOODRICH & ROSATI, P.C.

                                             /s/ Aden M. Allen
                                             Aden M. Allen
                                             900 South Capital of Texas Highway
                                             Las Cimas IV, Fifth Floor
                                             Austin, TX 78746-5546
                                             Telephone: (512) 338-5400
                                             Facsimile: (512) 338-5499

                                             Counsel for Defendant eHealth, Inc.
